Case 1:05-cv-00008-RLY-TAB Document 53 Filed 11/08/05 Page 1 of 4 PageID #: 168



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA



 DARNELL MATTHEWS,                               )
                                                 )
                                     Plaintiff,  )
        vs.                                      )        1:05-cv-008-RLY-TAB
                                                 )
 C. MARINER, et al.,                             )
                                                 )
                                     Defendants. )




                           Entry Concerning Selected Matters

      The court, having considered the above action and the matters which are pending,
 makes the following rulings:

       1.      The defendants’ request that the plaintiff’s evidentiary materials submitted in
 support of his motion for summary judgment be stricken is denied.

       2.     The plaintiff’s federal claims in this action consist at this point of his claim
 under the Fourth Amendment that the defendant police officers used constitutionally
 excessive force in effecting his arrest in Indianapolis on April 23, 2004, and his claim under
 the Fourteenth Amendment that the same defendants violated the plaintiff’s right to due
 process by not intervening in the use of force by the first group of defendants. These claims
 are asserted against the defendants in their individual capacities.

        a.      The lawful arrest of Matthews justified the use of force necessary to
        effectuate the arrest, for a police officer's ability to make a stop or an arrest
        "necessarily carries with it the right to use some degree of physical coercion or
        threat thereof to effect it." Graham v. Connor, 490 U.S. 386, 396 (1989). The force
        used in making the seizure in this instance was not objectively unreasonable. Id. at
        395 ("[A]ll claims that law enforcement officers have used excessive force--deadly
        or not--in the course of an arrest, investigatory stop, or other 'seizure' of a free
        citizen should be analyzed under the Fourth Amendment and its 'reasonableness'
        standard."); Estate of Phillips v. City of Milwaukee, 123 F.3d 586, 592-93 (7th Cir.
        1997) (where an offender is resisting arrest, an officer can use that amount of force
        necessary to overcome the offender's resistance), cert. denied, 522 U. S. 1116
        (1998).
Case 1:05-cv-00008-RLY-TAB Document 53 Filed 11/08/05 Page 2 of 4 PageID #: 169



        b.      With respect to the failure to intervene claim under the Fourteenth
        Amendment’s guarantee of due process, Yang v. Hardin, 37 F.3d 282 (7th Cir.
        1994), instructs us that "[a]n officer who is present and fails to intervene to prevent
        other law enforcement officers from infringing the constitutional rights of citizens is
        liable under § 1983 if that officer had reason to know: (1) that excessive force was
        being used, (2) that a citizen has been unjustifiably arrested, or (3) that any
        constitutional violation has been committed by a law enforcement official; and the
        officer had a realistic opportunity to intervene to prevent the harm from occurring."
        Id. at 285 (emphasis in original).

        c.     Although the plaintiff has argued that he is entitled to the entry of summary
        judgment as to these claims–which would be warranted if “‘the pleadings,
        depositions, answers to interrogatories, and admissions on file, together with the
        affidavits, if any, show that there is no genuine issue as to any material fact and that
        the moving party is entitled to judgment as a matter of law,’" Westra v. Credit Control
        of Pinellas, 409 F.3d 825, 827 (7th Cir. 2005) (quoting Rule 56(c) of the Federal
        Rules of Civil Procedure)–there is a question of fact as to whether the force used
        against the plaintiff in effecting his arrest was or was not objectively reasonable. This
        question of fact is “material” in the sense that its resolution "might affect the outcome
        of the suit." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

        d.     There are also questions of fact relating to the failure to intervene claim.
        Primarily, there is the same question as noted above with respect to the Fourth
        Amendment claim of excessive force, i.e., was the force used against the plaintiff
        in effecting his arrest objectively unreasonable. Additionally, "[w]hether an officer
        had sufficient time to intervene or was capable of preventing the harm caused by the
        other officer is generally an issue for the trier of fact unless, considering all the
        evidence, a reasonable jury could not possibly conclude otherwise." Lanigan v.
        Village of East Hazel Crest, Ill., 110 F.3d 467, 478 (7th Cir. 1997) (emphasis added).
        The evidentiary record at present does not show that a reasonable jury “could not
        possibly conclude otherwise.”

        e.     The plaintiff’s pendent claims for assault and battery under Indiana state law
        are not susceptible at this point to resolution through the entry of summary judgment
        for the same reasons as preclude the entry of summary judgment relating to the
        corresponding federal claim under the Fourth Amendment.

        3.       Material questions of fact thus prevent the granting of summary judgment for
 the plaintiff as to any of his claims. His motion for summary judgment is therefore denied.

        4.     The certificate of readiness for trial filed by the plaintiff includes his assertion
 that conduct of the defendants violated his rights under the Eighth Amendment. As the
 foregoing discussion shows, however, the rights implicated by the plaintiff’s allegations are
 those protected by the Fourth Amendment and by the Fourteenth Amendment. No viable
 claim under the Eighth Amendment is asserted in this action. Similarly, no viable claim for
 injunctive relief is present here, because the plaintiff is no longer subject to any
Case 1:05-cv-00008-RLY-TAB Document 53 Filed 11/08/05 Page 3 of 4 PageID #: 170



 mistreatment or threat of mistreatment by the defendants. Thus, references in the plaintiff’s
 certificate of readiness for trial to either the Eighth Amendment or the possibility of
 injunctive relief in this action are stricken. The certificate of readiness for trial filed by the
 plaintiff also includes his reference to the liability of former defendants Peterson and
 Barker. Claims against these defendants have been previously dismissed and are no
 longer subject to development or other resolution here. The parties’ attention to each of
 these items is directed to the language in paragraph 1 of the Entry issued on April 21,
 2005. The ruling in that Entry provided as follows:

         The plaintiff’s complaint is subject to screening pursuant to 28 U.S.C. § 1915A(b).
         Having conducted this process, the following claims are dismissed as legally
         insufficient:

         a.     Claims against Bart Peterson and Jerry Barker are dismissed because
                such claims are based on the doctrine of respondeat superior.

         b.     The claim for injunctive relief is dismissed because the plaintiff is not
                subject to any continuing misconduct or supervision by any of the
                defendants.

         c.     The claim under the Eighth Amendment is dismissed, because the
                complaint sets forth a claim under the Fourth Amendment.

         5.     The plaintiff’s motion to amend and add witnesses to subpoena, filed on
                October 24, 2005, is granted to the extent that the plaintiff’s intended witness
                list shall be amended to include Dr. Ryan Buhr, M.D., and Dr. Gerardo
                Gomez, M.D. Whether these individuals are actually called as witnesses
                depends on future proceedings in the action, not the least of which will be
                whether the plaintiff has the funds sufficient to arrange for any subpoenas for
                these individuals to be served.

         IT IS SO ORDERED.




                                                             _______________________________
 Date:    11/08/2005
                                                              RICHARD L. YOUNG, JUDGE
                                                              United States District Court
                                                              Southern District of Indiana
Case 1:05-cv-00008-RLY-TAB Document 53 Filed 11/08/05 Page 4 of 4 PageID #: 171




 Copies to:

 Kelly Jean Whiteman
 OFFICE OF CORPORATION COUNSEL
 kjwhitem@indygov.org

 Darnell Matthews
 DOC #863871
 Putnamville Correctional Center
 1500 West U.S. 40
 Greencastle, IN 46135-9275
